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                                                                               Ul51 F:  OF N[3:~!\Si\A
                       IN THE UNITED STATES DISTRICT COURT                      I 0 NOV I 8 PM 3: 27
                           FOR THE DISTRICT OF NEBRASKA
                                                                               OFFllJL OF Tnt CLERI{
UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )      Violation Number 2147166 NEl4
                     vs.                    )
                                            )      ORDER
TED L. DECKER,                              )
                                            )
                     Defendant.             )


       On the motion ofthe United States Attorney's Office, the above-referenced matter is hereby

dismissed.

       ORDERED this        I~day ofNovember, 2010,
